Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 1 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  · · · · · · · IN THE UNITED STATES DISTRICT COURT
  · · · · · · · · · FOR THE DISTRICT OF COLORADO
  ·
  · · Civil Action No. 1:20-cv-03242-KLM
  · · _______________________________________________________

  · · · · · · · · · · VIDEOTAPE DEPOSITION OF:
  · · · · · · · · ·AZURAYE WYCOFF - June 23, 2021
  · · · · · · · · · · · · (via RemoteDepo)
  · · _______________________________________________________
  ·
  · · MIDLAB, INC., a Tennessee Corporation,
  ·
  · · Plaintiff,
  ·
  · · v.
  ·
  · · ZAP! PRODUCTS, INC., a Colorado Corporation;
  · · MERRIE PISANO WYCOFF, individually and as trustee of
  · · The Wycoff Family Trust; WYCOFF FINANCIAL, LLC, a
  · · Colorado Limited Liability Company; MAGNUS VERITAS
  · · LLC, a Colorado Limited Liability Company; and
  · · GCS452, LLC, a Colorado Limited Liability Company,

  · · Defendants.
  · · _______________________________________________________
  ·

  · · · · · · · · ·PURSUANT TO NOTICE, the videotape
  · · deposition of AZURAYE WYCOFF was taken on behalf of the
  · · Plaintiff in Denver County, Colorado, by remote means,
  · · on June 23, 2021, at 9:03 a.m. MDT, before Gail
  · · Obermeyer, Registered Professional Reporter and Notary
  · · Public within Colorado, appearing remotely from Douglas
  · · County, Colorado.

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Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 2 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · Q.· ·It was just the Bloomfield loan that you

  ·2· were concerned about or that you knew about?

  ·3· · · · · A.· ·That I knew about that came to my

  ·4· attention.

  ·5· · · · · Q.· ·Did you know about any other debts

  ·6· involving your family that were in existence?

  ·7· · · · · A.· ·No, I did not.

  ·8· · · · · Q.· ·Did you know about any debts involving

  ·9· your family and other family members?

  10· · · · · A.· ·No, I did not.

  11· · · · · Q.· ·Were there any debts owed to you?

  12· · · · · A.· ·I loaned my family money, but that was

  13· ultimately repaid.

  14· · · · · Q.· ·When did you loan your family money?

  15· · · · · A.· ·Oh, that was when I was working for Magna

  16· Lucrum.

  17· · · · · Q.· ·So you had no income from Magna Lucrum,

  18· but you loaned your family money?

  19· · · · · A.· ·Yes, from my savings.

  20· · · · · Q.· ·And who did you make the loan to?

  21· · · · · A.· ·I don't remember that.

  22· · · · · Q.· ·What -- do you know if it was to a

  23· business or a person?

  24· · · · · A.· ·I don't know.

  25· · · · · Q.· ·Was there any documentation for this loan?


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Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 3 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · A.· ·Very likely.

  ·2· · · · · Q.· ·Do you remember signing a loan agreement

  ·3· or getting your family to sign a loan agreement?

  ·4· · · · · A.· ·I don't think it was that formal, but I'm

  ·5· not positive.

  ·6· · · · · Q.· ·Do you remember what the terms of the loan

  ·7· were?

  ·8· · · · · A.· ·No.· I just knew that my family needed the

  ·9· money, and I had it.

  10· · · · · Q.· ·Do you know if there was interest charged

  11· on the loan?

  12· · · · · A.· ·I do not.

  13· · · · · Q.· ·Do you remember how the loan was made?

  14· Did you write a check?· Did you send cash?· What did

  15· you do?

  16· · · · · A.· ·I don't remember at this time.

  17· · · · · Q.· ·Do you remember how much the loan was for?

  18· · · · · A.· ·No, I don't remember at this time.

  19· · · · · Q.· ·Do you remember how it was repaid?

  20· · · · · A.· ·I don't remember.

  21· · · · · Q.· ·Do you remember why your family would turn

  22· to you -- well, let me back up.· Do you remember why

  23· your family needed money?

  24· · · · · A.· ·No.· I didn't ask.· I mean, I trust my

  25· family.· I knew that eventually it would come back.


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Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 4 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · A.· ·Yeah, with my father's help.

  ·2· · · · · Q.· ·Do you know what your first bank account

  ·3· was?· Did you have a youth savings account?

  ·4· · · · · A.· ·Yes, I did.

  ·5· · · · · Q.· ·Where was that?· In Vectra?

  ·6· · · · · A.· ·In Vectra.

  ·7· · · · · Q.· ·And do you remember when that was set up?

  ·8· · · · · A.· ·I don't know.· I was really young,

  ·9· obviously, a youth.

  10· · · · · Q.· ·And was that kind of a joint account with

  11· you and one or more of your parents?

  12· · · · · A.· ·I don't remember.· I think it was just a

  13· really simple savings account, and I put baby-sitting

  14· money in.

  15· · · · · Q.· ·And then when you were no longer a youth,

  16· what happened with that account?

  17· · · · · A.· ·I think we still have that account.· And I

  18· opened a checking account at Vectra.

  19· · · · · Q.· ·So you still have a joint account with

  20· your mother at Vectra?

  21· · · · · A.· ·I think it's more of a joint account with

  22· me and my sister.

  23· · · · · Q.· ·So you think your sister and you have a

  24· joint account.· Do you have a joint account with your

  25· mother?


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Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 5 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · A.· ·I'm not certain, actually.· I think

  ·2· because she opened that account originally, she can

  ·3· access it.· But she doesn't really do anything with

  ·4· that, unless I've asked her to help me with something.

  ·5· · · · · Q.· ·What sort of funds go into that joint

  ·6· account?

  ·7· · · · · A.· ·We had a withdrawal from the trust in

  ·8· order to fund some of the operations.· What did we do

  ·9· with that?· I know there was one time that we

  10· transferred it, and it landed in there.· Mostly, that's

  11· been used to fund my own businesses; that I've moved to

  12· other accounts in order to help get Small Haul up and

  13· running.· I'm pretty much the only person who accesses

  14· that account.

  15· · · · · Q.· ·When do you think the last time you have

  16· accessed that account was?

  17· · · · · A.· ·I don't know.· I check it fairly

  18· frequently.· I've got an app on my phone.

  19· · · · · Q.· ·Do you know what Gusto is?

  20· · · · · A.· ·Yes.· It was a payroll service for ZAP!

  21· Products.

  22· · · · · Q.· ·So who would get paid through the Gusto

  23· Payroll Service for ZAP! Products?

  24· · · · · A.· ·The employees in ZAP!.

  25· · · · · Q.· ·Did you get paid through the Gusto Payroll


                    U.S. Legal Support | www.uslegalsupport.com                153
                                                                                     YVer1f
Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 6 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· Service --

  ·2· · · · · A.· ·Yes.

  ·3· · · · · Q.· ·-- when you were working for ZAP!?

  ·4· · · · · A.· ·Yes, I did.

  ·5· · · · · Q.· ·Do you know if your mom was paid anything

  ·6· through the Gusto?

  ·7· · · · · A.· ·I'm not sure about that.

  ·8· · · · · Q.· ·Did you get your Gusto payments from ZAP!

  ·9· into the joint youth savings account?

  10· · · · · A.· ·I'm not positive.· I think they may have

  11· gone into the checking account.

  12· · · · · Q.· ·Do you know if your dad got paid anything

  13· through Gusto?

  14· · · · · A.· ·I don't know.

  15· · · · · Q.· ·Did you have any joint accounts with your

  16· dad?

  17· · · · · A.· ·No.

  18· · · · · Q.· ·So can you tell me what the purpose of

  19· maintaining a joint account with your mother is?

  20· · · · · A.· ·I mean, we're a tight-knit family.· If

  21· someone needed something, it was a lot easier to help

  22· with that way.

  23· · · · · Q.· ·And so you'd be willing to help your

  24· family out through the joint account, right?

  25· · · · · A.· ·If there was an explicit request.· My mom


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                                                                                     YVer1f
Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 7 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· does not go in there and just withdraw funds.

  ·2· · · · · Q.· ·In what other ways have you helped your

  ·3· family financially?

  ·4· · · · · A.· ·Really, it was just that loan.· That was

  ·5· about the only time they've ever asked me for money.

  ·6· · · · · Q.· ·You don't think it helped your family to

  ·7· buy the farm?

  ·8· · · · · A.· ·Yes, of course.

  ·9· · · · · Q.· ·Do you think it helped your family to buy

  10· the residence?

  11· · · · · A.· ·The intention of buying the farm and the

  12· residence was so that the money from the insurance,

  13· instead of paying that directly to Bloomfield, we got

  14· something for that allotment of money.· Otherwise, it

  15· would have just been money that me and my sister had

  16· been given, going straight towards paying off a debt

  17· that was my father's responsibility.· So in order to

  18· make that a fair exchange, we wanted to purchase the

  19· farm and the house so that we could have that as part

  20· of our legacy.

  21· · · · · Q.· ·Does Mom pay rent at the residence?

  22· · · · · A.· ·Yes, she did, initially.· When we first

  23· purchased the property, she was paying 2500 a month.

  24· And once my sister moved back, I worked out more of a

  25· work exchange with her that she would do the upkeep and


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                                                                                     YVer1f
Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 8 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· the maintenance, manage the daily tasks, do the grocery

  ·2· shopping, and take care of Devon.· That was mostly when

  ·3· the pandemic hit and everything started shutting down,

  ·4· and she didn't have a way to make any kind of income.

  ·5· · · · · Q.· ·So now your mother does not pay any rent

  ·6· to the residence; is that right?

  ·7· · · · · A.· ·No; because I'm living there and my

  ·8· sister, are both living there.

  ·9· · · · · Q.· ·And your mother hasn't paid rent to the

  10· residence since March of 2020; is that right?

  11· · · · · A.· ·Yes, give or take.

  12· · · · · Q.· ·So going back to the loan that you said

  13· you made to your family -- and you weren't sure if it

  14· was to your mom, or dad, or their businesses -- but can

  15· you describe whether it was a one-time loan, or was it

  16· a -- did you make ongoing payments?

  17· · · · · A.· ·Honestly, I don't remember.· It was a long

  18· time ago.· I was pretty wrapped up in my work, and they

  19· needed help.· And of course I would say yes to that.

  20· But no, I didn't really, like, ask for real deep

  21· specifics.· And all of it was paid back.

  22· · · · · Q.· ·Talking, you know, in connection with the

  23· farm, I mean, a $2.5 million purchase is pretty

  24· substantial, wouldn't you say?

  25· · · · · A.· ·Yes.


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Case No. 1:20-cv-03142-DDD-KLM Document 55-3 filed 10/26/21 USDC Colorado pg 9 of
                                      9
                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · · · · · · ·REPORTER'S CERTIFICATE

  ·2· STATE OF COLORADO· · · · ·)
  · · · · · · · · · · · · · · · )· ss.
  ·3· CITY AND COUNTY OF DENVER )

  ·4· · · · · · · ·I, GAIL OBERMEYER, Registered Professional
  · · Reporter and Notary Public ID 19994012647, State of
  ·5· Colorado, do hereby certify that previous to the
  · · commencement of the examination, the said AZURAYE
  ·6· WYCOFF verbally declared her testimony in this matter
  · · is under penalty of perjury; that the said deposition
  ·7· was taken in machine shorthand by me at the time and
  · · place aforesaid and was thereafter reduced to
  ·8· typewritten form; that the foregoing is a true
  · · transcript of the questions asked, testimony given, and
  ·9· proceedings had.

  10· · · · · · · ·I further certify that I am not employed
  · · by, related to, nor of counsel for any of the parties
  11· herein, nor otherwise interested in the outcome of this
  · · litigation.
  12
  · · · · · · · · ·IN WITNESS WHEREOF, I have affixed my
  13· signature this 1st day of July, 2021.

  14· · · · · · · ·My commission expires May 20, 2023.

  15
  · · · · · · · · ·_____________________________________
  16· · · · · · · ·Gail Obermeyer, RPR
  · · · · · · · · ·Registered Professional Reporter
  17· · · · · · · ·Notary Public, State of Colorado

  18

  19

  20· __X__ Reading and Signing was requested.

  21· _____ Reading and Signing was waived.

  22· _____ Reading and Signing is not required.

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